                                                                                                                                                                                             GOVERNMENT
                                                                                                                                                                                               EXHIBIT
Prompt Values                                                                                                                                                                            SA19-CR-905 - Ex. 1
Rendering Provider NPI: 1982165908
Claim From Dates Between: 7/23/2021 and 8/23/2021



                                                                                                                                       RFx-
Bene CME                                                                                                                               Referring
Equitable BIC                                  CL-Date      CL-Date                                         RPx-Rendering Prov NPICS   Prov NPICS   RFx-Referring Prov NPICS Name                                                                              CLF-Amt       CLF-Amt
HIC Num         Bene Last       Bene First     From         Through      CH-Diag Cd Principal Desc          Name Single Derived        Num NPI      Single Derived                                                                                             Billed        Allowed
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Apolipoprotein level                       $126.00        $42.18
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Natriuretic peptide (heart and blood       $118.00        $39.26
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Vitamin D deficiency, unspecified   Vitamin D-3 level                           $99.00        $29.60
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, thyroid stimulating hormo       $56.00        $16.80
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Homocysteine (amino acid) level             $56.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $56.00        $16.94
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Cyanocobalamin (vitamin B-12) leve          $50.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Folic acid level, serum                     $49.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, lipids (cholesterol and trig    $45.00        $13.39
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Lipoprotein (A) level                       $43.00        $14.32
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Insulin measurement, total                  $38.00        $11.43
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, comprehensive group of          $35.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Hemoglobin A1C level                        $32.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), free          $30.00         $9.02
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Complete blood cell count (red cells        $26.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Magnesium level                             $22.00         $0.00
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Iron level                                  $22.00         $6.47
451686540A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Uric acid level, blood                      $15.00         $4.52
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Parathormone (parathyroid hormone          $138.00        $41.28
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Natriuretic peptide (heart and blood       $118.00        $39.26
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Vitamin D deficiency, unspecified   Vitamin D-3 level                           $99.00         $0.00
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, thyroid stimulating hormo       $56.00        $16.80
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $56.00        $16.94
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroglobulin (thyroid protein) antibo      $53.00        $15.91
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Cyanocobalamin (vitamin B-12) leve          $50.00         $0.00
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Microsomal antibodies (autoantibody         $49.00        $14.55
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $47.00         $0.00
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, lipids (cholesterol and trig    $45.00        $13.39
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Blood test, comprehensive group of          $35.00        $10.56
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Hemoglobin A1C level                        $32.00         $0.00
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), free          $30.00         $9.02
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Complete blood cell count (red cells        $26.00         $7.77
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), total         $23.00         $0.00
465830525A                                     07/27/2021   07/27/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Hyperlipidemia, unspecified         Thyroid hormone evaluation                  $22.00         $0.00
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Apolipoprotein level                       $126.00        $42.18
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Natriuretic peptide (heart and blood       $118.00        $39.26
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Vitamin D deficiency, unspecified   Vitamin D-3 level                           $99.00         $0.00
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Blood test, thyroid stimulating hormo       $56.00        $16.80
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Homocysteine (amino acid) level             $56.00         $0.00
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Thyroid hormone, T3 measurement,            $56.00        $16.94
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Cyanocobalamin (vitamin B-12) leve          $50.00         $0.00
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Folic acid level, serum                     $49.00         $0.00
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Blood test, lipids (cholesterol and trig    $45.00        $13.39
631053822A                                     07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER            Essential (primary) hypertension    Lipoprotein (A) level                       $43.00        $14.32
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Insulin measurement, total                  $38.00   $11.43
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Blood test, comprehensive group of          $35.00   $10.56
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Hemoglobin A1C level                        $32.00    $0.00
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Thyroxine (thyroid chemical), free          $30.00    $9.02
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Complete blood cell count (red cells        $26.00    $7.77
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Magnesium level                             $22.00    $6.70
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Iron level                                  $22.00    $0.00
631053822A   07/27/2021   07/27/2021   Essential (primary) hypertension   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Essential (primary) hypertension     Uric acid level, blood                      $15.00    $4.52
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Parathormone (parathyroid hormone          $138.00   $41.28
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Natriuretic peptide (heart and blood       $118.00   $39.26
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                              $99.00   $29.60
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Encounter for screening for maligna Prostate cancer screening; prostate          $61.00    $0.00
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, thyroid stimulating hormo       $56.00   $16.80
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroid hormone, T3 measurement,            $56.00   $16.94
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Microsomal antibodies (autoantibody         $49.00   $14.55
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroid hormone, T3 measurement,            $47.00    $0.00
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, lipids (cholesterol and trig    $45.00   $13.39
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, comprehensive group of          $35.00   $10.56
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus with other sHemoglobin A1C level                        $32.00    $9.71
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroxine (thyroid chemical), free          $30.00    $9.02
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Complete blood cell count (red cells        $26.00    $7.77
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroxine (thyroid chemical), total         $23.00    $0.00
103489698A   07/28/2021   07/28/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroid hormone evaluation                  $22.00    $0.00
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Parathormone (parathyroid hormone          $138.00   $41.28
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Natriuretic peptide (heart and blood       $118.00   $39.26
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                              $99.00   $29.60
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroid hormone, T3 measurement,            $56.00   $16.94
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Blood test, thyroid stimulating hormo       $56.00   $16.80
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Microsomal antibodies (autoantibody         $49.00   $14.55
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroid hormone, T3 measurement,            $47.00    $0.00
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Blood test, lipids (cholesterol and trig    $45.00   $13.39
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Blood test, comprehensive group of          $35.00   $10.56
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus with hypergHemoglobin A1C level                         $32.00    $9.71
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroxine (thyroid chemical), free          $30.00    $9.02
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Complete blood cell count (red cells        $26.00    $7.77
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroxine (thyroid chemical), total         $23.00    $0.00
455633034A   07/30/2021   07/30/2021   Mixed hyperlipidemia               AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                 Thyroid hormone evaluation                  $22.00    $0.00
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Parathormone (parathyroid hormone          $138.00   $41.28
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Natriuretic peptide (heart and blood       $118.00   $39.26
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                              $99.00   $29.60
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, thyroid stimulating hormo       $56.00   $16.80
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroid hormone, T3 measurement,            $56.00   $16.94
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Microsomal antibodies (autoantibody         $49.00   $14.55
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroid hormone, T3 measurement,            $47.00    $0.00
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, lipids (cholesterol and trig    $45.00   $13.39
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Blood test, comprehensive group of          $35.00   $10.56
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Hemoglobin A1C level                        $32.00    $0.00
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified        AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified          Thyroxine (thyroid chemical), free          $30.00    $9.02
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Complete blood cell count (red cells        $26.00    $7.77
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), total         $23.00    $0.00
451084474A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone evaluation                  $22.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Parathormone (parathyroid hormone          $138.00   $41.28
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Natriuretic peptide (heart and blood       $118.00   $39.26
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                             $99.00   $29.60
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Encounter for screening for maligna Prostate cancer screening; prostate         $61.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $56.00   $16.94
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, thyroid stimulating hormo       $56.00   $16.80
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Microsomal antibodies (autoantibody         $49.00   $14.55
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $47.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, lipids (cholesterol and trig    $45.00   $13.39
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, comprehensive group of          $35.00   $10.56
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Hemoglobin A1C level                        $32.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), free          $30.00    $9.02
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Complete blood cell count (red cells        $26.00    $7.77
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), total         $23.00    $0.00
452344147A   08/02/2021   08/02/2021   Hyperlipidemia, unspecified         AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone evaluation                  $22.00    $0.00
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Parathormone (parathyroid hormone          $138.00   $41.28
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Natriuretic peptide (heart and blood       $118.00   $39.26
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                             $99.00   $29.60
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, thyroid stimulating hormo       $56.00   $16.80
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone, T3 measurement,            $56.00   $16.94
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Microsomal antibodies (autoantibody         $49.00   $14.55
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone, T3 measurement,            $47.00    $0.00
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, lipids (cholesterol and trig    $45.00   $13.39
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, comprehensive group of          $35.00   $10.56
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus with hypergHemoglobin A1C level                        $32.00    $9.71
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroxine (thyroid chemical), free          $30.00    $9.02
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Complete blood cell count (red cells        $26.00    $7.77
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroxine (thyroid chemical), total         $23.00    $0.00
458434484A   08/02/2021   08/02/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone evaluation                  $22.00    $0.00
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comParathormone (parathyroid hormone          $138.00   $41.28
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comNatriuretic peptide (heart and blood       $118.00   $39.26
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                             $99.00   $29.60
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comBlood test, thyroid stimulating hormo       $56.00   $16.80
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroid hormone, T3 measurement,            $56.00   $16.94
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroglobulin (thyroid protein) antibo      $53.00   $15.91
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comCyanocobalamin (vitamin B-12) leve          $50.00    $0.00
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comMicrosomal antibodies (autoantibody         $49.00   $14.55
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroid hormone, T3 measurement,            $47.00    $0.00
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comBlood test, lipids (cholesterol and trig    $45.00   $13.39
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comBlood test, comprehensive group of          $35.00   $10.56
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comHemoglobin A1C level                        $32.00    $9.71
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroxine (thyroid chemical), free          $30.00    $9.02
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comComplete blood cell count (red cells        $26.00    $7.77
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroxine (thyroid chemical), total         $23.00    $0.00
204323872B   08/03/2021   08/03/2021   Type 2 diabetes mellitus without comAVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Type 2 diabetes mellitus without comThyroid hormone evaluation                  $22.00    $0.00
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Parathormone (parathyroid hormone          $138.00   $41.28
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia                AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Natriuretic peptide (heart and blood       $118.00   $39.26
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                             $99.00   $29.60
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Encounter for screening for maligna Prostate cancer screening; prostate         $61.00   $19.31
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, thyroid stimulating hormo       $56.00   $16.80
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone, T3 measurement,            $56.00   $16.94
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Microsomal antibodies (autoantibody         $49.00   $14.55
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone, T3 measurement,            $47.00    $0.00
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, lipids (cholesterol and trig    $45.00   $13.39
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Blood test, comprehensive group of          $35.00   $10.56
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Hemoglobin A1C level                        $32.00    $0.00
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroxine (thyroid chemical), free          $30.00    $9.02
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Complete blood cell count (red cells        $26.00    $7.77
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroxine (thyroid chemical), total         $23.00    $0.00
459349082A   08/07/2021   08/07/2021   Mixed hyperlipidemia          AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Mixed hyperlipidemia                Thyroid hormone evaluation                  $22.00    $0.00
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Parathormone (parathyroid hormone          $138.00   $41.28
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Natriuretic peptide (heart and blood       $118.00   $39.26
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Vitamin D deficiency, unspecified Vitamin D-3 level                             $99.00   $29.60
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, thyroid stimulating hormo       $56.00   $16.80
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $56.00   $16.94
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroglobulin (thyroid protein) antibo      $53.00   $15.91
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Cyanocobalamin (vitamin B-12) leve          $50.00    $0.00
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Microsomal antibodies (autoantibody         $49.00   $14.55
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone, T3 measurement,            $47.00    $0.00
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, lipids (cholesterol and trig    $45.00   $13.39
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, comprehensive group of          $35.00   $10.56
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Hemoglobin A1C level                        $32.00    $0.00
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), free          $30.00    $9.02
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Complete blood cell count (red cells        $26.00    $7.77
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroxine (thyroid chemical), total         $23.00    $0.00
459349082B   08/07/2021   08/07/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Thyroid hormone evaluation                  $22.00    $0.00
459349082B   08/09/2021   08/09/2021   Hyperlipidemia, unspecified   AVANTI LABORATORIES, LLC   1841335718   MONTOYA, CHRISTOPHER   Hyperlipidemia, unspecified         Blood test, basic group of blood che        $28.00    $8.46
